
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-07-005-CR





WILLIAM JOSEPH MORIN	APPELLANT



V.



THE STATE OF TEXAS	STATE



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FROM THE 355TH DISTRICT COURT OF HOOD COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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William Joseph Morin appeals from his convictions for promotion of child pornography and possession of child pornography. &nbsp;We affirm.

Appellant’s court-appointed appellate counsel has filed a motion to withdraw as counsel and a brief in support of that motion. &nbsp;In the brief, counsel avers that, in his professional opinion, this appeal is frivolous. &nbsp;Counsel’s brief and motion meet the requirements of 
Anders v. California
(footnote: 2) by presenting a professional evaluation of the record demonstrating why there are no arguable grounds for relief. &nbsp;Although appellant was given an opportunity to file a brief, he has not done so.

Once an appellant’s court-appointed counsel files a motion to withdraw on the ground that the appeal is frivolous and fulfills the requirements of 
Anders
, this court is obligated to undertake an independent examination of the record.
(footnote: 3) &nbsp;Only then may we grant counsel’s motion to withdraw.
(footnote: 4) &nbsp;Because appellant entered an open plea of guilty, our independent review for potential error is limited to potential jurisdictional defects, the voluntariness of appellant’s plea, error that is not independent of and supports the judgment of guilt, and error occurring after entry of the guilty plea.
(footnote: 5)
	We have carefully reviewed counsel’s brief and the record. &nbsp;We agree with counsel that this appeal is wholly frivolous and without merit; we find nothing in the record that arguably might support the appeal.
(footnote: 6) &nbsp;Accordingly, we grant counsel’s motion to withdraw and affirm the trial court’s judgment.



PER CURIAM



PANEL F: &nbsp;CAYCE, C.J.; HOLMAN and GARDNER, JJ.



DO NOT PUBLISH	

Tex. R. App. P.
 47.2(b)



DELIVERED: &nbsp;January 3, 2008	
 			

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.


2:386 U.S. 738, 87 S. Ct. 1396 (1967).


3:See Stafford v. State
, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); 
Mays v. State,
 904 S.W.2d 920, 922-23 (Tex. App.—Fort Worth 1995, no pet.).


4:See Penson v. Ohio,
 488 U.S. 75, 82-83, 109 S. Ct. 346, 351 (1988). 


5:See Monreal v. State,
 99 S.W.3d 615, 620 (Tex. Crim. App. 2003); 
Young v. State,
 8 S.W.3d 656, 666-67 (Tex. Crim. App. 2000).


6:See Bledsoe v. State,
 178 S.W.3d 824, 827-28 (Tex. Crim. App. 2005); 
accord Meza v. State, 
206 S.W.3d 684, 685 n.6 (Tex. Crim. App. 2006).
 




